Case 18-12622       Doc 64     Filed 01/14/19 Entered 01/14/19 08:41:49           Desc Main
                                 Document     Page 1 of 3


                        UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF MASSACHUSETTS

In re:
DIMARCO-CAVUOTO, Marianna Luisa                          Chapter 13
SSN: xxx-xx-1694                                         Case No. 18-12622-MSH
CAVUOTO, Angelo
SSN: xxx-xx-6501           Debtors


      TRUSTEE’S OBJECTION TO CONFIRMATION OF THE DEBTORS’ AMENDED
                             CHAPTER 13 PLAN

         Now comes Carolyn Bankowski, Standing Chapter 13 Trustee, and respectfully
 objects to the confirmation of the Debtor’s Amended Chapter 13 Plan (the “Plan”), and
 for reasons therefore says as follows:
 1.      The Debtors commenced this case by filing a petition on July 9, 2018.
 2.      On August 22, 2018, the Trustee presided over a 341 meeting of creditors and
         examined the Debtors.
 3.      On January 9, 2019, the Debtors filed the Plan. The Trustee cannot recommend
         the Plan for confirmation at this time.
 4.      The Plan lists the wrong date of filing.
 5.      The Debtors proposes a term of 60 months pursuant to 11 USC
         §1322(b)(4)(A)(ii). However, the Debtors are below the median income and
         therefore if proposing a term in excess of 36 months must check the third box in
         Part 2.A and list 60 months as the term pursuant to 11 U.S.C. §1322(d)(2) and is
         required to provide a statement of cause.
 6.      Part 2 lists the total amount of payments to the Trustee as $1,686.00. According
         to the payments proposed in Part 2.B, the total payments to the Trustee should be
         $101,160.00.
 7.      The Plan fails to adequately provide for the secured arrears claim of Shellpoint in
         the amount of $59,986.45.
 8.      Part 3.B(2) lists the Total Claims to be paid through the Plan as $91,031.456. The
         Plan does not provide for any claims under Part 3.B(2).
 9.      Finally, Exhibit 1 lists the date the amended Plan payment to begin as January 1,
         2019. But there is no amended Plan payment so that date should be blank. The


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Case 18-12622       Doc 64     Filed 01/14/19 Entered 01/14/19 08:41:49    Desc Main
                                 Document     Page 2 of 3


        Plan payment commences as of August 1, 2018 because no step up payment was
        proposed.
 WHEREFORE the Chapter 13 Trustee respectfully requests that the Court sustain her
 objection to confirmation, and for such other relief as is appropriate.


 Dated: January 14, 2019

                                           Respectfully submitted,

                                           By: /s/ Carolyn Bankowski
                                           Carolyn Bankowski, BBO#631056
                                           Patricia A. Remer, BBO#639594
                                           Standing Chapter 13 Trustee
                                           PO Box 8250
                                           Boston, MA 02114
                                           (617) 723-1313
                                           13trustee@ch13boston.com




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Case 18-12622     Doc 64     Filed 01/14/19 Entered 01/14/19 08:41:49         Desc Main
                               Document     Page 3 of 3


                     UNITED STATES BANKRUPTCY COURT
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                                 Certificate of Service

         The undersigned hereby certifies that a copy of the Trustee’s Objection to
 Debtor’s Amended Chapter 13 Plan was served via first class mail, postage prepaid or by
 electronic notice on the Debtors and Debtors’ counsel at the addresses set forth below.

 Dated: January 14, 2019
                                   /s/ Carolyn Bankowski
                                   Carolyn Bankowski

 Angelo & Marianna Cavuoto
 83 Summer Street
 Stoneham, MA 02180

 Lawrence Simeone, Jr.
 300 Broadway
 Revere, MA 02151




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